838 F.2d 467Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Oscar Lee MONTGOMERY, Plaintiff-Appellant,v.Gary HOLT, Sergeant, Sheriff's Department of Prince George'sCounty, Maryland;  Ray Holland, TransportationOfficer RDCC, Defendants-Appellees,Prince George's County;  James V. Aluisi, Sheriff, Defendants.
    No. 87-7085.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 23, 1987.Decided:  Jan. 12, 1988.
    
      Oscar Lee Montgomery, pro se.
      Joel David Worshtil;  David Yuan Li, Office of the Attorney General, for appellees.
      Before ERVIN and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Oscar Lee Montgomery, a Maryland inmate, brought this 42 U.S.C. Sec. 1983 action alleging that the defendants failed to provide him protection from violence, in violation of the eighth amendment.  The district court concluded that the defendants were merely negligent and granted judgment in their favor on the authority of Davidson v. Cannon, 474 U.S. 344 (1986).
    
    
      2
      We agree with the district court's conclusion that the evidence raised only an issue of negligence.  We affirm its judgment on the ground that negligent conduct does not establish an eighth amendment violation.  See Pressly v. Hutto, 816 F.2d 977 (4th Cir.1987).  See also Ruefly v. Landon, 825 F.2d 792 (4th Cir.1987).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      3
      AFFIRMED.
    
    